      Case 5:17-cv-01389-DNH-TWD Document 46 Filed 04/26/19 Page 1 of 1



                              LAW OFFICES OF BONNER & BONNER
                                475 GATE FIVE RD., SUITE 212
                                   SAUSALITO, CA 94965

                                      PHONE: 415-331-3070
                                       FAX: 415-331-2738


                                          April 26, 2019

VIA ECF

Hon. Thérѐse W. Dancks
United States Magistrate Judge
Federal Building & U.S. Courthouse
Syracuse, New York 13261

       RE:     Crawley v. City of Syracuse, 5:17-CV-1389 (DNH/TWD)

Dear Judge Dancks:

This joint request is submitted on behalf of Plaintiff Maurice Crawley and Defendants City of
Syracuse, Officer Vallon Smith, and Chief Frank Fowler to respectfully request that the current
April 26, 2019 discovery deadline be extended until June 26, 2019, discovery motion deadline be
extended to July 3, 2019, and dispositive motion deadline be extended to August 21, 2019.

Though the parties have worked together cooperatively to complete most of the written
discovery and party depositions, certain discovery-related tasks remain to be completed
including the completion expert depositions. The parties have already exchange expert
disclosures based on the Court’s prior order (ECF 43).

Pursuant to the Court’s prior order (CDF 43) the parties make this request prior to the expiration
of the prior discovery deadline.

The parties thank you for your consideration of this request. Please let me know if you have any
questions.




                                      Very truly yours,

                                      LAW OFFICES OF BONNER AND. BONNER

                                      /S/ A. Cabral BOnner
                                      A. CABRAL BONNER
